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Nidel & Nace, PLLC
Jonathan B. Nace, Esq.
One Church Street
Suite 802
Rockville, MD 20850
Tel: 202-780-5153
jon@nidellaw.com

                        UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF CALIFORNIA

SUE COFFMAN, as Personal Representative
of the ESTATE OF KEVIN COFFMAN,
Deceased,
                                                      Case No.: 3:21-cv-02505-VC
                        Plaintiff,
v.

MONSANTO COMPANY, THE VALLEY
FERTILIZER AND CHEMICAL COMPANY,
and COSTCO WHOLESALE
CORPORATION,

                        Defendants.

                      REPLY IN SUPPORT OF MOTION TO REMAND

     I.      INTRODUCTION

          This is a product liability action brought by Sue Coffman, a Virginia citizen, against

Monsanto, a local supplier Valley Fertilizer and Chemical Company (“Valley”) that is a citizen of

Virginia, and Costco Wholesale Corporation. Diversity is lacking on the face of the Complaint,

but Monsanto alleges fraudulent joinder based upon answers to interrogatories provided by Valley.

          Ms. Coffman timely moved to remand the case arguing that the notice of removal was late,

and that Monsanto had failed to establish fraudulent joinder. Monsanto opposed the motion to

remand by arguing that it was not untimely based upon the date of answers to interrogatories. It




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also argued that it had “pierced the pleadings” with “evidence” and so the burden shifted to

Plaintiff to provide contradictory evidence—though discovery is at its inception.

          Ms. Coffman now replies in support of her motion to remand.

    II.      LEGAL STANDARD

          Monsanto must demonstrate by clear and convincing evidence that there is no possibility

that Valley could be liable to Plaintiff to overcome the presumption against finding fraudulent

joinder. “Fraudulent joinder must be proven by clear and convincing evidence.” Hamilton v. Dow

Chem., 494 F.3d 1203, 1206 (9th Cir. 2007) (citing Pampillonia v. RJR Nabisco, Inc., 138 F.3d 459,

461 (2d Cir.1998)).

            Since courts must resolve all doubts against removal, a court determining
            whether joinder is fraudulent "must resolve all material ambiguities in state law
            in plaintiff's favor."

York v. Riddell, Inc., EDCV 15-02015-VAP (SPx), at *15-16 (C.D. Cal. Feb. 23, 2016) (quoting Macey

v. Allstate Property and Cas. Ins. Co., 220 F. Supp. 2d 1116, 1117 (N.D. Cal. 2002) (citing Good v.

Prudential, 5 F. Supp. 2d 804, 807 (N.D. Cal. 1998))).            “Given this standard, ‘[t]here is a

presumption against finding fraudulent joinder, and defendants who assert that plaintiff has

fraudulently joined a party carry a heavy burden of persuasion.’” York at *16 (quoting Plute v.

Roadway Package Sys., Inc., 141 F. Supp. 2d 1005, 1008 (N.D. Cal. 2001)); see also Hamilton v. Dow

Chem., 494 F.3d 1203, 1206 (9th Cir. 2007) (“…there is a general presumption against fraudulent

joinder…”). This burden of proof on Monsanto is distinct from a showing of a right to relief under

12(b)(6) or Rule 56 and far more difficult to meet. See Davis v. Prentiss Properties Ltd., Inc., 66 F. Supp.

2d 1112, 1115 (C.D. Cal. 1999) (“some room must exist between the standard for dismissal under

Rule 12(b)(6), for example, and a finding of fraudulent joinder. A court's Rule 12(b)(6) inquiry is



                                                     2

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whether the complaint states a cognizable legal theory. To constitute fraudulent joinder, the non-

diverse claim must not only be unsuccessful, it must be untenable ab initio.”) (citations omitted).

    III.     ARGUMENT

             a. Monsanto has not proven by clear and convincing evidence that Valley
                had no “reason to know” of Roundup’s dangers.

         Monsanto has not met its burden of demonstrating by clear and convincing evidence that

Valley had no reason to know of the dangers of Roundup®. In fact, Monsanto has not provided

any evidence.

         Monsanto relies solely on one paper, Valley’s answers to interrogatories, when it suggests

multiple times that it has “pierced the pleadings by presenting evidence” and has established

fraudulent joinder. However, under the Federal Rules of Evidence, Monsanto has not provided

any evidence at all. Valley’s answers are hearsay being offered for the truth of the matter asserted

here. Fed. R. Evid. 801(c).

         These types of statements are only excluded from the rules of hearsay when used against a

party-opponent and offered against that party which made the statement.

            (d) STATEMENTS THAT ARE NOT HEARSAY. A statement that meets the
            following conditions is not hearsay:

                  (2) An Opposing Party's Statement. The statement is offered against an opposing
                  party and (A) was made by the party in an individual or representative
                  capacity…

Fed. R. Evid. 801(d)(2)(A) (emphasis added)1. The interrogatories answers are not offered against

the party that made them, and they are not the statement of an opposing party. “It is well-

established that under Rule 801(d)(2), ‘a party's statement is admissible as non-hearsay only if it is



1 Subparts Fed. R. Evid. 801(d)(2)(B)-(D) offer no different outcome, as all require the statement to offered against the

party who made it.
                                                           3

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offered against that party.’” Cambridge Electronics Corp. v. MGA Electronics, Inc., 227 F.R.D. 313, 335

(C.D. Cal. 2004) (quoting Stalbosky v. Belew, 205 F.3d 890, 894 (6th Cir.2000)); see also Western

Wholesale Supply, Inc. v. Holladay, No. Civ. 97-0297-S-BLW, 2000 WL 33716996, *4, n. 2 (D. Idaho

2000) ("The statement may therefore be admitted against Wayne-Dalton, although it cannot be

admitted against any other party.”) (emphasis added). This well-settled application of the rules of

evidence underscores the absurdity of allowing a party to assert fraudulent joinder by testimony

offered by itself or its co-parties without any cross-examination or the completion of discovery. See

Fed R. Evid. 801(d)(1) (allowing such statements when the declarant is subject to cross-

examination).2 Plainly demonstrative of the error of offering this hearsay as dispositive clear and

convincing evidence of fraudulent joinder is the fact that summary judgment would never be

granted on such a question of fact based on a party’s own answers to interrogatories. See Ansara v.

State Farm Fire & Cas. Co., Case No.: 2:15-cv-00365-GMN-NJK, at *4-5 (D. Nev. Nov. 24,

2015) (“though courts may look to a showing of facts in conducting a fraudulent joinder analysis,

the burden on the defendant to prove fraudulent joinder is higher than the burden required for

Rule 56 summary judgment or even Rule 12(b)(6) dismissal.”).

         This is inadmissible hearsay because it does not meet the second prong of Rule 801(d)(2) in

that it is not offered against the party that made the statement. This alone ends the Court’s inquiry.

However, this fails the first part of 801(d)(2) which is titled “An Opposing Party’s Statement.”

Supra. Simply, the statement is not the statement of an opposing party to Monsanto. Therefore,




2 The Virginia Rules of Evidence also exclude this answer to an interrogatory as hearsay for the same reason, i.e. that
the statement is not being offered against the party who made the statement. See Va. R. Sup. Ct. 2:803 (“The following
are not excluded by the hearsay rule, even though the declarant is available as a witness: (o) Admission by party-opponent.
A statement offered against a party that is (A) the party's own statement, in either an individual or a representative
capacity…”) (emphasis added).
                                                            4

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these answers to interrogatories are not evidence at all, and cannot be considered evidence that go

further and pierce the pleadings.3

        Even if the Court were to admit these answers as admissible evidence, they do not establish

by clear and convincing evidence that Valley did not have a reason to know of Roundup®’s defects.

See Owens-Corning Fiberglas Corp. v. Watson, 243 Va. 128, 135-36 (Va. 1992) (“Reason to know”

means that the actor has knowledge of facts from which a reasonable man of ordinary intelligence

or one of the superior intelligence of the actor would either infer the existence of the fact in question

or would regard its existence as so highly probable that his conduct would be predicated upon the

assumption that the fact did exist.”). In considering these answers, the Court can consider that

Valley’s own answers are less credible in that 1) Valley has a self-interest in obtaining dismissal of

claims against it; and 2) Valley is interested in transferring venue out of The Circuit Court for

Richmond City. These two facts lower the weight of the “evidence” presented beneath the bar of

“clear and convincing.” Further, the Valley answer is only conclusory when it asserts it had no

reason to know; but it has not offered any sufficient evidence or statement that it was not aware of

the dangers of other pesticide products, did not belong to organizations which monitored pesticide

dangers, did not review information from the EPA regarding the products it sold, or any other such

bolstering information. Accepting this as clear and convincing evidence of fraudulent joinder

means any bare-bones self-serving affidavit from a co-Defendant could be accepted as clear and

convincing truth to clear the high bar of fraudulent joinder. Furthermore, Plaintiff has provided

statements of Valley, made by Valley and offered against Valley, to demonstrate that they had a




3 Ms. Coffman suspects that Monsanto would argue that the answers to interrogatories of any other plaintiff in this

multi-district litigation are hearsay if used by her—or any other plaintiff—against Monsanto.
                                                        5

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reason to know of Roundup®’s defects. See Doc. 6, p. 8. At a bare minimum, this precludes a

finding by the “clear and convincing” standard that fraudulent joinder is present.

        Though Ms. Coffman has presented evidence that suggests Valley had a reason to know of

Roundup®’s defects, this Court has cautioned against imposing a burden upon a plaintiff of

coming forward with evidence to defeat fraudulent joinder at this early stage of litigation. In

Contreras v. Mi Tierra Mercado y Carniceria, 2017 U.S. Dist. LEXIS 31621 (N.D. Cal. March 6, 2017),

a removing defendant alleging fraudulent joinder submitted an affidavit in support of its removal,

which was then objected to by the plaintiff. Id. at *8-9. The district court declined to consider the

affidavit because “Plaintiff has not had an opportunity to depose Bader or question him on his

assertions, or even to examine the machine—ITW is in complete control of the facts.” Id. at *11

(citing Reynolds v. Boeing Co., 2015 U.S. Dist. LEXIS 99563 at *4, 5 (C.D. Cal. July 28, 2015). The

Contreras court summarized its ruling:

        While the Court acknowledges that discovery could ultimately resolve the question
        of whether the Hobart model 4346 is a power press in Defendants' favor, the
        procedural posture here requires Defendants to prove that there is absolutely no
        possibility that Contreras could establish a cause of action against Mi Tierra in state
        court. That it has not done, primarily because when the issue is whether a machine
        uses a “die,” whether the machine is a power press is an issue of fact properly
        reserved for the jury.

Contreras at *12 (internal citations omitted). Similarly hear, the question of whether Valley had

“reason to know” is a jury question. It is a question of fact which Plaintiff has not been given an

opportunity to discover at this point because the facts are solely within the possession of Valley.4

Just like in Contreras, and others upon which it relies and for the evidentiary reasons above, this does

not satisfy the heavy burden of fraudulent joinder.


4Prior to removal, Valley provided very limited responses to requests for production of documents in the form of Mr.
Coffman’s statement of account, exactly 81 pages of invoices. They provided no emails or other communciations, nor
did they sit for any deposition.
                                                         6

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        Typically to establish legal impossibility by clear and convincing, the removing defendant

must present admissible evidence or a procedural defense upon which evidence is not necessary

to order dismissal. See Ritchey v. Upjohn Drug Co., 139 F.3d 1313 (9th Cir. 1998) (finding fraudulent

joinder because procedural defense of statute of limitations was invoked); see Arias v. Follet Higher

Educ. Corp., 2019 U.S. Dist. LEXIS 20265 at *6 (stating defendant produced, inter alia, “a number

of corroborating correspondences between Plaintiff and Johnston.”); Feizbakhsh v. Travelers Commer.

Ins. Co., 2016 U.S. Dist. LEXIS 123471, *12 (non-diverse defendant was improper because “under

California law a negligence claim cannot be stated by an insured against agents and employees of

an insurer.”).5 Monsanto has not offered the type of evidence which demonstrates that Plaintiff

cannot prevail against Valley, nor the type that is typically required to establish fraudulent joinder.

        Monsanto has not established by clear and convincing evidence that it is a legal

impossibility for Plaintiff to succeed on a claim against Valley, thus Valley is properly joined and

diversity is lacking.

             b. Monsanto’s Notice of Removal is untimely.

        The “first paper” which indicated that Valley did not believe a claim could be asserted

against it was Valley’s Demurrer, filed on January 8, 2021. Importantly, the demurrer, which

triggered the date for removal, states exactly Valley’s position that was relied upon by Monsanto

that Valley allegedly did not and could not have known of Roundup®’s defects.

        The Complaint does not allege nor could it allege that defendant Valley had
        knowledge, actual or constructive, of the allegedly dangerous effects of Roundup.
        The Complaint does not allege nor could it allege that Valley was ever notified that
        it breached any warranties with respect to Roundup. Since the Complaint does not
        allege nor could it allege that Valley was aware or should have been aware of the
        dangerous condition of Roundup or that Valley was ever notified that it breached
        a warranty with respect to Roundup, the Complaint fails to state a cause of action

5 But see Martinez v. McKesson Corp., 2016 U.S. Dist. LEXIS 145003 (April 7, 2016) (relying on a removing

defendant’s declaration to establish impossibility).
                                                       7

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            for negligence or breach of implied warranties against Valley and should be
            dismissed.

Doc. 6-1, p. 3. This mirrors the language in the answers to interrogatories that Monsanto asserts

was the first time it could have ascertained this knowledge.

            Monsanto misappropriates the alleged “duty to inquire” that it holds up as Ms. Coffman’s

argument. The distinction is that the information in the Demurrer is identical to the information

in the answer to interrogatory. It is not a duty to inquire, but if they wanted “evidence,” as opposed

to a pleading, Monsanto could have gained actual evidence within thirty-days of the Demurrer.

But Monsanto is simply wrong when it claims that the trigger for “evidence-based challenges” is

the date that evidence is presented. Instead, even when evidence must be necessary to allege

fraudulent joinder, the trigger remains the paper “from which it may first be ascertained that

the case is one which is or has become removable.” Durham v. Lockheed Martin Corp., 445 F.3d 1247,

1251 (9th Cir. 2006) (emphasis added). Even if this paper was unsworn and not evidence, the

Demurrer gave Monsanto the information necessary to ascertain the evidence it needed and the

argument it belatedly made.

            Monsanto’s reliance on general citation to case law that there is no duty to inquire misses

the mark.6 In Barakat v. Costco Wholesale Corp., 2020 U.S. Dist. LEXIS 118954, 2020 WL 3635933

(July 6, 2020), the district court’s opinion was limited to removals where “the initial pleading or

other document is ‘indeterminate’ with respect to removability.” Id. at *11. Here, the Demurrer

is not “indeterminate” because it plainly states that there is no claim against Valley. See Harris v.

Bankers Life & Cas. Co., 425 F.3d 689, 693 (defining “indeterminate pleading” as one in which “it

is unclear from the complaint whether the case is removable, i.e., the citizenship of the parties is



6   See Doc. 7, p. 14, n. 11.
                                                    8

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unstated or ambiguous.”). In fact, Monsanto does not argue that the Demurrer was indeterminate;

it argues that it was not admissible evidence.7 Therefore, it had the information and should have

procured whatever evidence it thought necessary.

          Finally, Monsanto has no relevant response to Brittain v. Pac. Cycle, Inc., 2018 U.S. Dist.

LEXIS 210770; 2018 WL 6584482 (W.D.N.C. Dec. 14, 2018), a case which is analogous to this

one. Plaintiff is aware that Brittain is a case from within the Fourth Circuit, but just like any other

district court opinion cited in here, the Western District of North Carolina is a federal district court

which is applying the law of fraudulent joinder. As noted in Plaintiff’s motion to remand, there is

no distinction, let alone a conflict, in the substance of the law of fraudulent joinder in the Ninth

Circuit and the Fourth Circuit. A motion to dismiss or demurrer which argues that there is no

viable claim against a forum defendant is a paper which should cause a non-forum defendant to

ascertain whether fraudulent joinder exists. Id. There is no reason to deviate from the well-

reasoned Brittain opinion.

    IV.      CONCLUSION

          Plaintiff Sue Coffman respectfully moves for remand to the Circuit Court for the City of

Richmond, Virginia. Ms. Coffman further moves for an Order granting her ten-days after

remand to move for attorneys’ fees pursuant to 28 U.S.C. § 1447(c).




7 White v. Raley's, 2020 U.S. Dist. LEXIS 249846 (October 19, 2020) similarly dealt with an indeterminate complaint,
“The face of Plaintiff's Complaint—served on February 27, 2020—did not evidence the jurisdictional minimum was
satisfied.” Id. at *7.
                                                         9

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                                                      Respectfully submitted,



                                                      /s/ Jonathan B. Nace
                                                      Jonathan B. Nace, Esq.
                                                      DC Bar Number 985718
                                                      Nidel & Nace, PLLC
                                                      One Church Street
                                                      Suite 802
                                                      Rockville, MD 20850
                                                      Tel: 202-780-5153
                                                      jon@nidellaw.com




                                 CERTIFICATE OF SERVICE

       This is to certify that on May 7, 2021, I caused a copy of the foregoing Reply in support of

Motion to Remand to be served upon the Court and all parties via ECF. A courtesy copy was sent

to counsel of record via email service.

                                                      /s/ Jonathan B. Nace
                                                      Jonathan B. Nace, Esq.




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